 Fill in this information to identify the case:

 Debtor 1              Michael P. Reese
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         Eastern
 United States Bankruptcy Court for the: ______________________              Michigan
                                                                District of __________
                                                                             (State)
 Case number            16-51685-mbm
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                               U.S. Bank Trust National Association, as
                   Trustee of the Bungalow Series III Trust
 Name of creditor: _______________________________________                                                           3
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          2214____ ____ ____
                                                         ____                            Must be at least 21 days after date       08        2020
                                                                                                                                   ____/____/_____
                                                                                                                                        01
                                                                                         of this notice


                                                                                         New total payment:                          413.87
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                             225.75
                   Current escrow payment: $ _______________                           New escrow payment:           143.89
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q    No
      q    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1
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Debtor 1         Michael P. Reese
                 _______________________________________________________                                               16-51685-mbm
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.

     q
     X     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û_____________________________________________________________
  /s/ Michelle R. Ghidotti-Gonsalves
     Signature
                                                                                                Date    07 02 2020
                                                                                                        ____/_____/________




 Print:             Michelle R. Ghidotti-Gonsalves
                    _________________________________________________________                   Title   AUTHORIZED AGENT
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            Ghidotti Berger LLP
                    _________________________________________________________



 Address            1920 Old Tustin Ave
                    _________________________________________________________
                    Number                 Street

                    Santa Ana, CA 92705
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone       949
                    (______) _____– 2010
                             427 _________                                                            bknotifications@ghidottiberger.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
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                                                                                                    Annual Escrow Account
                                                                                                     Disclosure Statement
  314 S. Franklin Street, 2nd Floor
  P.O. Box 517
  Titusville, PA 16354                                                       ACCOUNT NUMBER:
  1-800-327-7861
  https://myloanweb.com/BSI                                      004    1461542214_ESCROWDISCSTMT_200625

                                                                              DATE: 06/25/20

                                              310
           MICHAEL P REESE                                                   PROPERTY ADDRESS
           7610 PIERSON ST                                                   7610 PIERSON ST
           DETROIT, MI 48228                                                 DETROIT, MI 48228



PLEASE REVIEW THIS STATEMENT CLOSELY - YOUR MORTGAGE PAYMENT MAY BE AFFECTED. THIS STATEMENT TELLS
YOU OF ANY CHANGES IN YOUR MORTGAGE PAYMENT, ANY SURPLUS REFUNDS, OR ANY SHORTAGE YOU MUST PAY.
IT ALSO SHOWS YOU THE ANTICIPATED ESCROW ACTIVITY FOR YOUR ESCROW CYCLE BEGINNING 08/01/2020
THROUGH 07/31/2021.
          -------- ANTICIPATED PAYMENTS FROM ESCROW 08/01/2020 TO 07/31/2021 ---------
HOMEOWNERS F/P                                                    $699.18
CITY                                                           $1,027.51
TOTAL PAYMENTS FROM ESCROW                                     $1,726.69
MONTHLY PAYMENT TO ESCROW                                         $143.89
          ------ ANTICIPATED ESCROW ACTIVITY 08/01/2020 TO 07/31/2021 ---------
                ANTICIPATED PAYMENTS                                                         ESCROW BALANCE COMPARISON
MONTH      TO ESCROW            FROM ESCROW               DESCRIPTION                 ANTICIPATED              REQUIRED

                                               STARTING BALANCE -->      $3,575.18                                  $604.55
AUG            $143.89                 $460.66 CITY                 L1-> $3,258.41                         L2->     $287.78
SEP            $143.89                                                   $3,402.30                                  $431.67
OCT            $143.89                                                   $3,546.19                                  $575.56
NOV            $143.89                                                   $3,690.08                                  $719.45
DEC            $143.89                                                   $3,833.97                                  $863.34
JAN            $143.89                 $566.85 CITY                      $3,411.01                                  $440.38
FEB            $143.89                                                   $3,554.90                                  $584.27
MAR            $143.89                                                   $3,698.79                                  $728.16
APR            $143.89                                                   $3,842.68                                  $872.05
MAY            $143.89                                                   $3,986.57                                $1,015.94
JUN            $143.89                 $699.18 HOMEOWNERS F/P            $3,431.28                                  $460.65
JUL            $143.89                                                   $3,575.17                                  $604.54
               --------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE --------
IF THE ANTICIPATED LOW POINT BALANCE (L1) IS GREATER THAN THE REQUIRED BALANCE (L2), THEN YOU HAVE AN
ESCROW SURPLUS. YOUR ESCROW SURPLUS IS $2,970.63.
                                        CALCULATION OF YOUR NEW PAYMENT
PRIN & INTEREST                                                                   $269.98
ESCROW PAYMENT                                                                    $143.89
NEW PAYMENT EFFECTIVE 08/01/2020                                                  $413.87
YOUR ESCROW CUSHION FOR THIS CYCLE IS $287.78.




                                  ********** Continued on reverse side ************




           Our records indicate that you have filed for Bankruptcy protection. As a result of your
           Bankruptcy filing, escrow account deficiencies prior to your filing date have been removed
           from calculation of your analysis, and they are now reflected as amounts due within your
           pre-petition arrearage. This Escrow Analysis Statement was prepared under the
           assumption that all escrow payments have been made in the amount required each
           month. The surplus funds indicated above are not an accurate reflection of your escrow
           account because no surplus funds will exist until all amounts are received towards your
           pre-petition arrearage.




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                                                                  ********** Continued from front **********


                                                                                            ACCOUNT HISTORY
   THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE ACTUAL
   ESCROW ACTIVITY BEGINNING 08/01/2019 AND ENDING 07/31/2020. IF YOUR LOAN WAS PAID-OFF, ASSUMED OR
   TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS BEGING CHANGED, ACTUAL ACTIVITY STOPS AT
   THAT POINT. THIS STATEMENT IS INFORMATION ONLY AND REQUIRES NO ACTION ON YOUR PART.

   YOUR PAYMENT BREAKDOWN AS OF 08/01/2019 IS:
   PRIN & INTEREST                                                                                                                          $269.98
   ESCROW PAYMENT                                                                                                                           $225.75
   BORROWER PAYMENT                                                                                                                         $495.73
                        PAYMENTS TO ESCROW                                      PAYMENTS FROM ESCROW                                                                   ESCROW BALANCE
 MONTH           PRIOR PROJECTED                  ACTUAL                  PRIOR PROJECTED                    ACTUAL                      DESCRIPTION                 PRIOR PROJECTED                     ACTUAL
                                                                                                                         STARTING BALANCE                                  $1,142.08                           $854.91
   AUG                  $225.75                     $988.06 *                      $916.33                               CITY             T->                                $451.50                           $921.65
   AUG                                                                                                         $460.66 * CITY
   AUG                                                                                                         $460.66   CITY
   SEP                  $225.75                     $451.50        *                                                                                                         $677.25                        $1,373.15
   OCT                  $225.75                     $451.50        *                                                                                                         $903.00                        $1,824.65
   NOV                  $225.75                     $451.50        *                                                                                                       $1,128.75                        $2,276.15
   DEC                  $225.75                     $225.75                                                    $566.85 * CITY                                              $1,354.50                        $1,935.05
   JAN                  $225.75                     $451.50        *           $1,093.57                                 CITY                                                $486.68                        $2,386.55
   FEB                  $225.75                       $0.00        *                                                                                                         $712.43                        $2,386.55
   MAR                  $225.75                     $472.48        *                                                                                                         $938.18                        $2,859.03
   APR                  $225.75                       $0.00        *                                                                                                       $1,163.93                        $2,859.03
   MAY                  $225.75                     $275.44        *                                                                                                       $1,389.68                        $3,134.47
   JUN                  $225.75                       $0.00                        $699.18                             HOMEOWNERS F/P                                        $916.25              A->         $163.84
   JUN                                                                                                     $2,970.63 * ENMASSE REFUNDS
   JUL               $225.75
                  __________                        $0.00
                                               __________                    __________                  __________                                                        $1,142.00                           $163.84
                    $2,709.00                    $3,767.73                     $2,709.08                   $4,458.80


   UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHED THE LOWEST POINT, THAT BALANCE WAS
   TARGETED NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE
   LAW MAY SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.

   UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT BALANCE (T) WAS
   $451.50. YOUR ACTUAL LOW POINT ESCROW BALANCE (A) WAS $163.84.

   BY COMPARING THE ANTICIPATED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN DETERMINE
   WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE AMOUNT OR
   DATE OF THE PROJECTED ACTIVITY THAT HAS NOT YET OCCURRED DUE TO THE DATE OF THIS STATEMENT.

   IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION TO WHICH THE
   ACTUAL ACTIVITY COULD BE COMPARED.

   Determining your Shortage or Surplus
   Shortage:
    .
   Any shortage in your escrow account is usually caused by one the following items:
    . An increase, if any, in what was paid for insurance and/or taxes from your escrow account.
    . A projected increase in taxes for the upcoming year.
      The number of months elapsed from the time of these disbursements to the new payment effective date.
   Shortages are divided evenly of the next twelve months. To reduce the increase in your monthly payment, the
   shortage can be paid either partially or in full.
   Surplus:
    .
   A surplus in your escrow account is usually caused by one the following items:
    .  The insurance/taxes paid during the past year were lower than projected.
    .  A refund was received from the taxing authority or insurance carrier.
       Additional funds were applied to your escrow account.
   If your surplus is $50.00 or greater and your loan was contractually current at the time when the analysis was
   run or calculated, a check will be sent to you. If your surplus is less than $50.00, the funds will be retained in
   your escrow account.




Licensed as Servis One, Inc. dba BSI Financial Services BSI Financial Services BSI NMLS# 38078.
Customer Care Hours: Mon. - Fri. 8:00 am to 11:00 pm (ET) and Sat. 8:00 am to 12:00 pm (ET).

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If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal liability for the obligation identified in this letter, we may
not and do not intend to pursue collection of that obligation from you personally. If either of these circumstances apply, this notice is not and should not be construed to be a demand for payment from you
personally. Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.
 1   Michelle R. Ghidotti-Gonsalves, Esq. (SBN 232837)
     L. Bryant Jaquez, Esq. (SBN 252125)
 2   GHIDOTTI | BERGER, LLP
 3   1920 Old Tustin Ave.
     Santa Ana, CA 92705
 4   Ph: (949) 427-2010
     Fax: (949) 427-2732
 5   bjaquez@ghidottiberger.com
 6
     Authorized Agent for Creditor
 7   U.S. Bank Trust National Association, as Trustee of the Bungalow Series III Trust
 8
                               UNITED STATES BANKRUPTCY COURT
 9
                     EASTERN DISTRICT OF MICHIGAN – DETROIT DIVISION
10
11   In Re:                                               )   CASE NO.: 16-51685-pjs
12                                                        )
     Michael P. Reese,                                    )   CHAPTER 13
13                                                        )
              Debtors.                                    )   CERTIFICATE OF SERVICE
14
                                                          )
15                                                        )
                                                          )
16                                                        )
                                                          )
17
                                                          )
18                                                        )
                                                          )
19
20
                                      CERTIFICATE OF SERVICE
21
22            I am employed in the County of Orange, State of California. I am over the age of
23   eighteen and not a party to the within action. My business address is: 1920 Old Tustin Ave.,
24
     Santa Ana, CA 92705.
25
              I am readily familiar with the business’s practice for collection and processing of
26
27   correspondence for mailing with the United States Postal Service; such correspondence would

28   be deposited with the United States Postal Service the same day of deposit in the ordinary

     course of business.

                                                      1
     16-51685-lsg        Doc 53   FiledCERTIFICATE
                                        07/10/20 Entered 07/10/20 11:25:57
                                                   OF SERVICE                          Page 5 of 6
 1   On July 10, 2020 I served the following documents described as:
 2                 NOTICE OF MORTGAGE PAYMENT CHANGE
 3
     on the interested parties in this action by placing a true and correct copy thereof in a sealed
 4
     envelope addressed as follows:
 5
 6   (Via United States Mail)
     Debtor                                               Chapter 13 Trustee
 7   Michael P. Reese                                     David Wm Ruskin
     7610 Pierson St.                                     26555 Evergreen Rd Ste 1100
 8
     Detroit, MI 48228                                    Southfield, MI 48076-4251
 9
     Debtor’s Counsel
10   Adam M. Roose
11   Roose Law, PLC
     29829 Greenfield Rd., Suite 102
12   Southfield, MI 48076
13   _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
14   the United States Postal Service by placing them for collection and mailing on that date
     following ordinary business practices.
15
     ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
16   Eastern District of California
17
     __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
18   America that the foregoing is true and correct.
19          Executed on July 10, 2020 at Santa Ana, California
20
     /s / Jeremy Romero
21   Jeremy Romero
22
23
24
25
26
27
28




                                                      2
     16-51685-lsg     Doc 53     FiledCERTIFICATE
                                       07/10/20 Entered 07/10/20 11:25:57
                                                  OF SERVICE                          Page 6 of 6
